             Case 1:17-cr-00556-ER Document 25 Filed 01/27/21 Page 1 of 1

                                                                                 Hughes Hubbard & Reed LLP
                                                                                          One Battery Park Plaza
                                                                                 New York, New York 10004-1482
                                                                                       Office:+1 (212) 837-6000
                                                                                          Fax: +1 (212) 422-4726
                                                                                             hugheshubbard.com

                                                                                                 Marc A. Weinstein
                                                                                                            Partner
                                                                                    Direct Dial: +1 (212) 837-6460
                                                                                    Direct Fax: +1 (212) 299-6460
                                                                              marc.weinstein@hugheshubbard.com




                                                   January 27, 2021



VIA EMAIL & ECF

Honorable Edgardo Ramos
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007


             Re:    United States v. Gilbert Armenta, 17 Cr. 556 (ER)

Dear Judge Ramos:

              The Court previously scheduled the sentencing of Gilbert Armenta for January 29,
2021. The parties continue to engage in discussions regarding various sentencing-related issues.
To permit those continuing discussions, counsel for Mr. Armenta respectfully requests a 60-day
adjournment of the sentencing to a date on or about March 30, 2021 that is convenient to the
Court. The Government has been contacted and does not object to such an adjournment.



                                                Respectfully submitted,


                                                /s/ Marc A. Weinstein .
                                                Marc A. Weinstein


cc:   Christopher DiMase (AUSA)
      Nicholas Folly (AUSA)




99658093_1
